    Case: 1:19-cr-00226 Document #: 971 Filed: 04/03/23 Page 1 of 12 PageID #:8925

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        Case: 1:19-cr-00226 Document #: 971 Filed: 04/03/23 Page 3 of 12 PageID #:8927



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      Case: 1:19-cr-00226 Document #: 971 Filed: 04/03/23 Page 5 of 12 PageID #:8929



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            Case: 1:19-cr-00226 Document #: 971 Filed: 04/03/23 Page 6 of 12 PageID #:8930



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         Case: 1:19-cr-00226 Document #: 971 Filed: 04/03/23 Page 7 of 12 PageID #:8931



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       Case: 1:19-cr-00226 Document #: 971 Filed: 04/03/23 Page 8 of 12 PageID #:8932



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       Case: 1:19-cr-00226 Document #: 971 Filed: 04/03/23 Page 9 of 12 PageID #:8933



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       Case: 1:19-cr-00226 Document #: 971 Filed: 04/03/23 Page 10 of 12 PageID #:8934



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